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                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

Q3 INVESTMENTS RECOVERY
VEHICLE, LLC, a Florida limited
liability company,
                                                   Case No.: 8:20-cv-00756-TPB-AAS
       Plaintiff,

v.

JAMES SEIJAS; QUAN TRAN; MICHAEL
ACKERMAN; DONNA SEIJAS; STEVE
SAUNDERS; Q3 HOLDINGS, LLC, a
Delaware limited liability company; Q3 I, LP,
a Delaware limited partnership; Q3 CRYPTO,
LLC, a Florida limited liability company;
SKYWAY CAPITAL MARKETS, LLC, a
Florida limited liability company; and WELLS
FARGO CLEARING SERVICES, LLC and
WELLS FARGO ADVISORS FINANCIAL
NETWORK, LLC, a Delaware limited liability
company,

       Defendants.
                                                   /

     PLAINTIFF Q3 INVESTMENTS RECOVERY VEHICLE, LLC’S MOTION
 FOR LEAVE TO FILE REPLY IN SUPPORT OF RENEWED MOTION TO REMAND

       Plaintiff, Q3 Investments Recovery Vehicle, LLC (“Q3 IRV”), pursuant to Local Rule

3.01(c), hereby files this Motion for Leave to File Reply in Support of its Renewed Motion to

Remand, stating:

       1.      On April 16, 2020, Tran filed an Amended Notice of Removal (Doc. 18), asserting

federal jurisdiction pursuant to the Securities Litigation Uniform Standards Act (SLUSA).

       2.      In the Amended Notice, Tran cites this Court’s decision in Sullivan v. Holland &

Knight, LLP, 2010 WL 1558553 at *6 (M.D. Fla. March 31, 2010) and other cases that found

SLUSA jurisdiction where the victims purchased interests in an entity that were not covered
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securities, but the entity purchased or was supposed to purchase covered securities. These cases

are sometimes referred to as “feeder fund” cases. See In re Herald, 753 F.3d 110 (2d Cir. 2014)

(“investors attempted to take an ownership position in ‘covered securities’ within meaning of

[SLUSA] when a Ponzi scheme fraudulently induced their attempted investments in such securities

through intermediary feeder funds”).

        3.      Q3 IRV then filed a Renewed Motion to Remand (Doc. 40), arguing that the

Supreme Court in Chadbourne & Parke, LLP v. Troice, 571 U.S. 377 (2014) overruled or limited

feeder fund cases, applying SLUSA only where the victims themselves intended to acquire, sell,

or hold covered securities as a result of the misrepresentations.

        4.      Tran next filed his Memorandum of Law of Defendant, Quan Tran, in Opposition

to Plaintiff’s Renewed Motion to Remand (Doc. 57) (“Opposition”).

        5.      In the Opposition, Tran argues a new basis for removal, citing Herndon v. Equitable

Life Ins. Co., 325 F.3d 1252 (11th Cir. 2003), a case where the victims directly acquired covered

securities as well as uncovered securities as a result of the misrepresentations. See Opposition, p.

11.

        6.      Plaintiff seeks leave to file a Reply to respond to Tran’s new legal arguments, which

will aid the Court in its resolution of the matter.

        7.      If granted, the Reply in this matter will not exceed fifteen (15) pages.

        8.      This motion is made in good faith and not for any purposes of undue delay.

                                   MEMORANDUM OF LAW

        “No party shall file any reply or further memorandum directed to [a] motion or

response…unless the Court grants leave.” Local Rule 3.01(c). “The purpose of a reply brief is to

rebut any new law or facts contained in the opposition’s response to a request for relief before the



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Court.” Tardif v. People for Ethical Treatment of Animals, 2011 WL 2729145, *2 (M.D. Fla. July

13, 2011); see also Fiddler’s Creek, LLC, v. Naples Lending Group, LC, 2015 WL 4470093, *2

(M.D. Fla. July 21, 2015). A Court will grant leave to file a reply brief when the moving party

shows good cause for the request. See id.

       Here, good cause exists for leave to file a reply because the Opposition contains new legal

arguments to which a reply by Q3 IRV is necessary. Specifically, Tran asserts that Herndon and

similar “hybrid securities” cases are applicable here. Q3 IRV would like to address Tran’s apparent

mistake in citing cases where the victims directly purchased, sold, or held covered securities, which

did not occur here. Granting Plaintiff leave to file a reply will aid in the Court’s resolution of the

matter because it will permit Plaintiff to explain Tran’s mistake.

       WHEREFORE, Plaintiff Q3 Investments Recovery Vehicle, LLC respectfully requests this

Court enter an Order permitting the filling of a Reply to Tran’s Opposition to Plaintiff’s Renewed

Motion to Remand, not to exceed 15 pages, within 10 days of entry of the Order.

                     CERTIFICATE OF GOOD FAITH CONFERENCE

       On May 12, 2020, Christa Queen-Sutherland, counsel for Plaintiff, communicated with

Scott Ilgenfritz, counsel for Quan Tran, to obtain consent to the relief requested in this motion.

Counsel for Defendant Tran indicated he neither objects nor consents.

   Respectfully submitted this 12th day of May, 2020.

                                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 12, 2020, a true and correct copy of the foregoing

document was electronically filed using the Court’s CM/ECF system, which will provide

electronic notice to the following:

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